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" §'Plain¢iff,

Vs.
PORTFOLIO RECOVERY ASSOCIATES,
LLC, A Delaware Limited Liability Cornpany
Defendant.

 

 

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Plaintiff Arthur Martikyan (hereinafter “Plaintiff”), through his attorney on record
Arshak Bartoumian brings his Complaint against PORTFOLIO RECOVERY ASSOCIATES,
LLC (hereinafter “Defendant”) for violations of F ederal and State consumer protection laWs,
including the F air Debt Collection Practices Act [15 U.S.C. §l692-l692p] (“FDCPA”),
California’s Rosenthal Fair Debt Collection Practices Act [California Civil Code §1788 et seq.]
(“RFDCPA”), Fair Credit Reporting Act [15 U.S.C. §1681 et seq.] (“FCRA”), and California’s
Consumer Credit Reporting Agencies Act [California Civil Code §1785.2 et Seq.] (“CCRAA”)

and alleges as follows:

 

 

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, U.S. DISTRICT COURT

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

C¢VSi@-=' ll 157

COMPLAINT FOR DAMAGES FOR
VIOLATION OF:

1)
2)
3)
4)

PRELIMINARY STATEMENT

FEDERAL FAIR DEBT COLLECTION
PRACTICES ACT;

CALIFORNIA’S ROSENTHAL FAIR
DEBT COLLECTION PRACTICES ACT;
FEDERAL FAIR CREDIT REPORTING
ACT;

CALIFORNIA’S CONSUMER CREDIT
REPORTING AGENCIES ACT.

DEMAND FOR JURY TRIAL

 

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1 . The FDCPA regulates the behavior of collection agencies attempting to collect
a debt on behalf of another. The United States Congress has found abundant evidence of
the use of abusive, deceptive, and unfair debt collection practices by many debt collectors,

and has determined that abusive debt collection practices contribute to a number of

personal bankruptcies, marital instability, loss of j obs, and invasions of individual privacy.

Congress enacted the FDCPA to eliminate abusive debt collection practices by debt
collectors, to ensure that those debt collectors Who refrain from using abusive debt
collection practices are not competitively disadvantaged, and to promote uniform State

action to protect consumers against debt collection abuses [15 U.S.C. §1692(a)-(e)].

2 . The FDCPA is a strict liability statute, Which provides for actual or statutory
damages upon the showing of one Violation. The Ninth Circuit has held that Whether a debt
collector’s conduct violates the FDCPA should be judged from the standpoint of the “least l
sophisticated” consumer. [Baker v. G.C. Services Corp., 677 F.2d 775, 778 (9th Cir. 1982);
SWanson v. Southern Oregon Credit Service, Inc. 869 F.2d 1222, 1227(9th Cir.l988)]. This
objective standard “ensure[s] that the FDCPA protects all consumers, the gullible as Well
as the Shrer the ignorant, the unthinking and the credulous.” [Clomon v. Jackson, 988
F.2d 1314, 1318-19 (2“" cir. 1993)].

3 . To prohibit deceptive practices the FDCPA, at 15 U.S.C. §1692e, outlaws the
use of false, deceptive, and misleading collection letters and names a non-exhaustive list of

certain per se violations of false and deceptive collection conduct. 15 U.S.C. §1692e(1)-
(16).

4 . To prohibit harassment and abuses by debt collectors the FDCPA, at 15 U.S.C. `
§l692d, provides that a debt collector may not engage in any conduct the natural
consequence of Which is to harass, oppress, or abuse any person in connection With the
collection of a debt and names a non-exhaustive list of certain per se violations of
harassing and abusive collection conduct. 15 U.S.C. §1692d(l)-(6). Among these per se
violations prohibited by that section are: any collection activities and the placement of
telephone calls Without meaningful disclosure of the caller’s identity [15 U.S.C.
§l692d(6)]

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5 . The FDCPA also prohibits, at 15 U.S.C. §16920, without the prior consent of
the consumer given directly to the debt collector, or the express permission of a court of
competent jurisdiction, or as reasonably necessary to`effectuate a post judgment judicial
remedy, communication by a debt collector in connection with the collection of any debt,
With any person other than the consumer, his attorney, a consumer reporting agency if
otherwise permitted by law, the creditor, the attorney of the creditor, or the attorney of the

debt collector.

6 . The RFDCPA regulates collection agencies and original creditors attempting to
collect debts on their own behalf. The California legislature has determined that the
banking and credit system and grantors of credit to consumers are dependent upon the
collection of just and owing debts and that unfair or deceptive collection practices
undermine the public confidence that is essential to the continued functioning of the
banking and credit system and sound extensions of credit to consumers The Legislature
has further determined that there is a need to ensure that debt collectors exercise their
responsibility with fairness, honesty, and due regard for the debtor’s rights and that debt

collectors must be prohibited from engaging in unfair or deceptive acts or practices.

7 . This case involves money, property, or other equivalent, due or owing or
alleged to be due or owing from natural persons by reason of consumer credit transactions
As such, this action arises out of “consumer debts” and “consumer credit” as those terms
are defined by California Civil Code §1788.2(1).

8 . Congress enacted the FCR_A to establish consumer rights to privacy over
their credit and financial information and to ensure the "[a]ccuracy and fairness of credit
reporting." FCRA provides several protections for consumers, including but not limited to
the right to be notified of any negative/unfavorable information reported in their name and

the right to dispute inaccurate, outdated and/or incomplete information on their credit file.

9 . FCRA regulates credit reporting agencies as well as creditors, collection
agencies and other parties who provide information to credit reporting agencies and/or
obtain and use the consumer credit reports. FCRA Section 623, 15 U.S.C. §1681s-2,
imposes obligations on furnishers of information to the credit reporting agencies.

Furnishers must report accurate information, correct and update erroneous information,

COMPLAINT FOR DAMAGES- 3

 

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and provide certain notices to consumer pertaining to furnished information

2 10 . FCRA Sections 616 and 617, 15 U.S.C. §l681n and §16810, create private
3 right of action consumers can bring against violators of any provision of the FCRA with
regards to their credit, In DiMezza v. First USA Bank, Inc., supra, the court confirmed
that "[...] the plain language of [CRA Sections 616 and 617, 15 U.S.C. §1681n and
§16810] provide a private right of action for a consumer against furnishers of information
who have willfully or negligently failed to perform their duties upon notice of a dispute.

[...] there is a private right of action for consumers to enforce the investigation and

8 . . . . . .
reporting duties imposed on furnishers of information."
9
10 1 1 . CCRAA Was implemented to protect the credit information of Califomia
consumers CCRAA also regulates consumer credit reporting agencies and furnishers of
11
information with respect to personal, credit and other financial information submitted and
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maintained in their credit file. CCRAA in Califomia Civil Code §1785.25-1785.26
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refrains furnishers of information from reporting information that they know or should

14 have known was erroneous, and obligates furnishers to cease credit reporting of

15 information disputed by consumers without notice of such dispute.

16 12 . CCRAA provides consumers with the right to be informed of negative credit
17 reporting and the right to dispute information in their credit reports, which they believe is

incomplete and/or inaccurate. Consumers also have the right to bring civil action against

18
19 violators of any provision of the CCRAA with respect to their rights and their credit, and
20 to seek monetary damages. California Civil Code §1785.19 and §1785.31.

13 . Sanai v. Saltz, et al., 2009 Cal. App. LEXIS 83 (Cal. App. 2d Dist. Jan. 26,
21 2009) established that consumers may replead their FCRA claims as violations of the
22 CCRAA and that the state claims are not preempted by FCRA. In further support, courts
23

have uniformly rejected creditors’ and consumer reporting agencies’ arguments that the

24 FCRA bars state law claims. See Sehl v.` Safari Motor Coaches, Inc., 2001 U.S. Dist. Lexis
25 12638 (U.S.D.C. N.D. Cal. 2001)(for detailed discussion); Harper v. TRW, 881F. Supp.

26 294 (U.S.D.C. S.D. Mich. 1995); Rule v. Ford Receivables, 36 F. Supp.2d 335 (U.S.D.C.
27 S.D. Va. 1999); Watkins v. Trans Union, 118 F. Supp.2d 1217 (U.S.D.C. N.D. Ala. 2000)';

28 Swecker v. Trans Union, 31 F. Supp.2d 536 (U.S.D.C. E.D. Va. 1998); Saia v. Universal

COMPLAINT FOR DAMAGES- 4

 

 

 

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Card Svc., 2000 U.S.Dist.Lexis 9494, 2000 Westlaw 863979 (U.S.D.C. E.D. La. 2000);
Sherron v. Private lssue by Discover, 977 F. Supp.2d 804 (U.S.D.C. N.D. Miss. 1997);
Hughes v. Fidelity Bank, 709 F. Supp.2d 639 (U.S.D.C. E.D. Pa. 1989).

I. JURISDICTION AND VENUE

14 . Jurisdiction of this Court arises under 15 U.S.C. §l681p, Califomia Civil
Code §1785.33, and 28 U.S.C. §1337.

1 5 . Supplemental jurisdiction rests upon 28 U.S.C. § 1367.
1 6 . Venue is proper in this United States District Court, Central District of
Califomia because Defendant’s violations alleged below occurred in the County of Los

Angeles, State of Califomia and within this District.
II. PRIVATE RIGHT OF ACTION

` 1 . 15 U.S.C §1692k(a) states that “. .. any debt collector who fails to comply
with any provision of this title with respect to any person is liable to such person in an
amount equal to the sum of-.”

2 . Cal. Civ. Code §1788.30(a) states that “any debt collector who violates this title
with respect to any debtor shall be liable to that debtor only in an individual action. . .”

3 . Cal. Civ. Code §1785.15(1`) states that consumers “have a right to bring civil
action against anyone [. . .], who improperly obtains access to a iile, knowingly or willfully
misuses file data, or fails to correct inaccurate file data” concerning a consumer’s credit
report.

4 . Cal. Civ. Code §1785.31(a) states that Plaintiff as “any consumer who suffers
damages as a result of a violation of this title by any person may bring an action in a court
of appropriate jurisdiction against that person to recover the following.”

5 . Pursuant to Gorman v. MBNA America Bank, 'N.A., No. 06-17226, Plaintiff is
entitled to a Private Remedy Against Furnishers and FCRA §1681$-2(b) triggers
Defendant’s furnisher’s liability under this section, since Plaintiff made her initial disputes

With the Credit Reporting Agencies.

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6 . 15 U.S.C. §1681n refers to consumers’ ability to bring civil liability action
against users/furnishers of information for Willful noncompliance with provisions of the
FCRA.

III. THE PARTIES

7 . Plaintiff Arthur Martikyan is a natural person, an individual residing in
TUJUNGA located in Los Angeles County, State of California.

8 . Plaintiff is a consumer as defined in 15 U.S.C. §1692a (3), 15 U.S.C. §1681a
(c) and Califomia Civil Code §1785.3(b).

9 . Defendant is a Califomia Corporation, registered and conducting business in
the State of Califomia.

1 0 . Defendant is a debt collector as defined in 15 U.S.C. §1692a (6) and
Califomia Civil Code §1788.2(0).

l 1 . Plaintiff and Defendant are each a person as defined in California Civil Code
§1788.2(g), 15 U.S.C. §l68la (b) and Califomia Civil Code §1785.3(_j).

12 . Plaintiff is informed and believes and on that basis alleges that Defendant is
responsible for the acts, occurrences and transactions as officers, directors or managing
agents Of Defendant or as its agents, servants, employees and/or joint venturers and as set
forth in this Complaint, and that each of them are legally liable to Plaintiff, as set forth
below and herein: .

a. Said Officers, directors or managing agents of Defendant personally acted willfully
with respect to the matters alleged in this Complaint; '

b. Said Officers, directors or managing agents of Defendant personally authorized,
approved of, adopted and/or ratified the acts alleged herein or the agents, servants,
employees and/or joint venturers of Defendant did so act;

c. Said Officers, directors or managing agents of Defendant personally participated in
the acts alleged herein of Defendant;

d. Said Officers, directors or managing agents of Defendant personally had close
supervision of their agents, servants, employees and/or joint venturers of Defendant;

e. Said Officers, directors or managing agents of Defendant personally were familiar

with the facts regarding the matters alleged herein;

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conducted With the three major Credit Reporting Agencies, Experian, Equifax and TransUnion

4 Plaintiff was in debt With them.

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f. Said Officers, directors or managing agents of Defendant personally failed to
investigate the circumstances appertaining to the acts alleged herein. They also failed
and refused to repudiate the herein alleged actions and failed to redress the harm done
to Plaintiff, Further, said Officers, directors, or managing agents of Defendant failed
and refused to punish or discharged the said agents, servants, employees and/or joint
venturers of Defendant, even after learning of the acts of the agents, servants,
employees and/or joint venturers of Defendant. '

1 3 . Defendant is liable to Plaintiff for the relief prayed for in this Complaint, and any
future amended complaint. Further, Plaintiff alleges that each act alleged herein, whether by a

named Defendant was expressly authorized or ratified.
IV. FACTS COMMON TO ALL COUNTS

14. Plaintiff who is not a minor alleges that the following events and actions taken by

Defendant occurred within the past one year.
15. In or around September 12, 2011 Plaintiff discovered through a credit review

(collectively “CRAs”) that Defendant had reported a collection account in his name, alleging

16. Defendant had failed to provide Plaintiff a dunning notice of debt or inform of the
negative credit reporting, thereby depriving Plaintiff of his right to a dispute and validation

request for the alleged debt and his right to a fair and accurate credit reporting.

17. On or about September 29, 2011 Plaintiff sent a letter of dispute to CR_As,
requesting investigation and verification of the collection account reported by Defendant,

otherwise its prompt and permanent deletion from Plaintiffs credit bureau reports.

18. Upon CRAs verification, on or about September 19, 2011 Plaintiff sent a letter of
dispute and a validation request to Defendant directly, requesting documentation validating the
alleged debt, otherwise its prompt and permanent deletion from Plaintiff" s credit bureau

reports.

19. Defendant failed to answer to Plaintiff’s debt validation request, failed to cease

COMPLAINT FOR DAMAGES- 7

 

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collection activity and credit reporting upon receipt of Plaintiff’ s dispute, and failed to inform
the CRAS that the accounts were in dispute. Yet, within days of the credit bureau dispute, the

CR_As claimed that Defendant verified the accounts as accurate to them.

20. On or about December 28, 2011 Plaintiff sent a follow up request to Defendant
addressing their lack of validation or alternatively, the closing and deletion of the disputed

collection accounts and the alleged debts.

21. Following Plaintiff’s follow up notice and request, Defendant again failed to

provide proper response or take appropriate corrective action.

22. On or about January 24, 2012 Plaintiff sent Defendant a notice of their violations
with regards to the reporting of the unverified alleged debts and failure to validate the accuracy
of such debts. Plaintiff’ s communication was sent in an effort to get Defendant’s cooperation

and resolve the situation amicably.

23. Despite Plaintiff s efforts to date, Defendant has failed to properly address his
dispute and requests, has failed to validate the alleged debts or cease further collection of the
unverified debts. Defendant continues to maintain the unverified accounts on Plaintiff" s credit

record.

24. Due to the inaccurate credit reporting and Defendant’s prolonged noncompliance
in resolving the situation Plaintiff has suffered emotional and financial distress. Specifically, as
a result of Defendant’s conduct, Plaintiff has suffered:

a. Actual damages and serious financial and pecuniary harm arising from monetary
losses relating to denials of attempts to obtain credit cards and consumer loans, loss
of use of funds, loss of credit and loan opportunities, excessive and/or elevated
interest rate and finance charges.

b. Out of pocket expenses associated with disputing the credit information only to find
the information to remain on the credit report;

c. Emotional distress and mental anguish associated with having incorrect derogatory
credit information transmitted about Plaintiff to other people both known and

unknown;

COMPLAINT FOR DAMAGES- 8

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d. Decreased credit score and creditworthiness, which may result in inability to obtain

credit on future attempts
COUNT I
Violations of FDCPA

25. Plaintiff repeats and reincorporates by reference the above paragraphs
26. Defendant knowingly and willfully violated the FDCPA by:

a) Failing to provide dunning notice of debts and a written notice of Plaintiff’s right to
request validation of debts along with information about the alleged debts,
including the name and contact information of the original creditors pursuant to 15
U.S.C. §1692g(a);

b) F ailing to cease collection activity and continuing to make collection efforts on the
alleged debts without properly responding to Plaintiff s validation request pursuant

to 15 U.S.C. §1692g(b);
c)\ Failing to properly validate the alleged debts pursuant to 15 U.S.C. §l692g(b);

d) Using false representations and deceptive means to collect or attempt to collect the
alleged debt pursuant to 15 U.S.C. §l692e;
e) Using unfair or unconscionable means to collect or attempt to collect the alleged
debt pursuant to 15 U.S.C. §1692f.

COUNT II _
Violations of RFDCPA

27 . Plaintiff repeats and reincorporates by reference the above paragraphs
28. Defendant knowingly and willfully violated RFDCPA by:

a) Using false representations and deceptive means to collect or attempt to collect
debts pursuant to Civil Code §1788.17;
b) Using unfair and/or unconscionable means to collect alleged debts pursuant to
California Civil Code §1788.17.

COMPLAINT FOR DAMAGES- 9

 

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COUNT III
Violations of FCRA

29, Plaintiff repeats and reincorporates by reference the above paragraphs
4 30. Defendant knowingly and willfully violated the FCRA by:

a) Furnishing inaccurate/unverified information to the CRAs pursuant to 15

6 U.S.C. §1681s-2 (a);

b) Failing to inform Plaintiff about the reporting of negative information to his
credit report, prior to or within five(5) days of furnishing collection accounts to

9 the cRAs pursuant 10 15 U.s.c. §16813-2 (a)(7)(A);

10
c) Failing to conduct proper investigation of disputed information upon receipt of

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l Plaintiffs dispute pursuant to 15 U.S.C. §l681s-2 (a)(8)(E);
12 ,
d) Verifying the disputed accounts with the CRAs prior to conducting thorough
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investigation and without having substantiating support for such verification;
14
15 e) Reporting disputed information to the CRAS, without notice of Plaintiff’s
16 dispute, during the investigation period and prior to providing verification of
accuracy pursuant to 15 U.S.C. §1681s-2 (a)(3);
17
f) Continuing to report unverified information to the CRAs after lack of response
18 and verification,
19
20 coUNT iv
21 Violations of CCRAA
22 31. Plaintiff repeats and reincorporates by reference the paragraphs above paragraphs
23
32. Defendant knowingly and willfully violated CCRAA by:
24
25 a) Submitting negative credit information to Plaintiff s credit report with the
26 CRAs, without notifying the Plaintiff pursuant to California Civil Code
§1785.26(b);
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28 b) Continuing to report the collection account to the CRAs, upon receipt of

COMPLAINT FOR DAMAGES~ 10

 

 

 

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l Plaintiff’s dispute and during the investigation period, without notice that the
2 accounts have been disputed by Plaintiff pursuant to Califomia Civil Code

§1785.25(¢); `
3
c) Failing to acknowledge Plaintiffs demand for investigation and correction of
4 information furnished to the CRAs, following Plaintiffs receipt of CRAS’
5 reinvestigation results pursuant to California Civil Code §1785.30.
6
7
8 PRAYER FOR RELIEF
9 33. Plaintiff repeats and reincorporates by reference the paragraphs above paragraphs
10
34. Plaintiff contends that the Defendant’s actions constituted willful violations of the

ll Fair Debt Collection Practices Act, the Rosenthal Fair Debt Collection Practices Act, the Fair

12 Credit Reporting Act and Consumer Credit Reporting Agencies Act,

13

WHEREFORE, Plaintiff requests judgment to be entered in his favor and against the

14 Defendant for: l

15 _

1. Actual damages, per 15 U.S.C. §1692k(a)(1) and/or Civil Code §1788.30(a), 15

16

U.S.C. §168ln (a)(l)(A) and Cal. Civ. Code §1785.3 1(a)(2)(A);

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18 2. Statutory damages, per 15 U.S.C. §l692k(a)(2) and/or Civil Code §1788.30(b), and

19 15 U.S.C. §1681n(a)(1)(A) and Cal. Civ. Code §1785.19(a);

20 3. Costs and reasonable attorney’s fees, pursuant to 15 U.S.C. §l692k(a)(3), and/oi

21 n Civil Code §1788.30(c), 15 U.S.C. §1681n (c) and/or Code of Civil Procedure

§490.020; ‘

22 v

23 4. Punitive damages, per 15 U.S.C. §1681n (a)(2) and Cal. Civ. Code

2 4 §17 85 .31(a)(2)(B), as the court may allow;

25 5. Injunctive relief, per Cal. Civ. Code §1785 .31(b), ordering Defendant to cease

26 collection activity and delete the reporting of the unverified accounts and debts;

27 6. Declaratory relief, which is available pursuant to 28 U.S.C. §2201 and §2202;

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7. Any other relief as this Honorable Court deems appropriate
coMPLAINT FoR DAMAGES- 11

 

 

 

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Respectfully submitted,

 
  
     

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Arshak Bartoumian, Attorney for Plaintiff

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I, Arthur Martikyan, have suffered from the following due to, or made worse by, the

actions of the Defendant’s debt collection activities:

Sleeplessness

Fear of answering the telephone

Nervousness

Fear of answering the door

Embarrassment when speaking with family or friends
Depressions (sad, anxious, or “empty” moods)

Chest pains

Feelings of hopelessness, pessimism

. Feelings of guilt, worthlessness, helplessness

10. A petite and/or Weight loss or overeating and weight gain
11. T oughts of death, suicide or suicide attempts

12. Restlessness or irritability

13. Headache, nausea, chronic pain or fatigue

14. Negative impact on my job

15. Negative impact on my relationships

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Other physical or emotional symptoms 1 believe are associated:with abusive debt collection '
activities:

 

 

 

 

 

 

 

 

 

 

Pursuant to 28 U.S.C. §1746(2), I hereby declare (or certify, verify or state) under penalty
of perjury that the foregoing is true and correct.

Dated: 011/08/2012 An/m+»o/L M/t)%`zla/, v
Signed Name '

Arthur Martikavn
Printed Name

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1 VERIFICATION
2 I, Arthur Martikyan, am the Plaintiff in the above entitled action. I have read the foregoing

3 complaint. The facts stated herein are within my knowledge and are true and correct, except
4 those matters stated on information and belief, and, so to those, I believe them to be true and
5 correct. l declare under penalty of perjury under the laws of the State of Califomia that the

6 foregoing is true and correct.

7 MQ
3 Executed: AHYB,S, 2012 at Glendale, California.

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WM

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11 Arthur Martikyan, PLAINTIFF

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COMPLAINT FOR DAMAGES- 14

 

 

 

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' “ UNITED sTATEs DISTRICT COURT, CENTRAL DISTRICT oF CALIFORNIA

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4.,.

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CIVIL COVER SHEET
1 (a) PLAINTIFFS (Check box if you are representing yourself El) DEFENDANTS
ARTHUR MARTIKYAN PORTFOLIO RECOVERY ASSOCIAES, LLC

 

(b) Attomeys (Firm Name, Address and Telephone Number. If` you are representing Attomeys (If Known)
yourself, provide same.)

ARSHAK BARTOUMIAN (SBN 210370) 818-532-9339

 

 

124 W STOCK_ER S'l` STE B
GLENDALE, CA 91202
Il. BASIS OF JURISDICTION (Place an X in one box only.) III. CITlZENSHIP OF PRlNCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
E| l U.S. Govemment Plaintiff 53 Federal Question (U.S. PTF DEF PTF DEF
Govemment Not a Party) Citizen of This State E| 1 E| 1 incorporated or Principal Place |Il 4 111 4
of Busincss in this State
E| 2 U.S. Govemment Defendant 111 4 Diversity (Indicate Citizenship Citizen of Another State E| 2 El 2 Incorporated and Principa| Place El 5 E| 5
of Parties in Item IlI) of Business in Another State
Citizen or Subject of a Foreign Country El 3 |IJ 3 Foreign Nation |I| 6 Cl 6

 

 

IV. ORIG!N (Place an X in one box only.)

|!/l Original |:1 2 Removed from |Il 3 Remanded from II| 4 Reinstated or El 5 Transferred from another district (specify): E| 6 Multi- [J 7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: MYes El No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: C| Yes [YNO E(MONEY DEMANDED IN COMPLAINT: $ Not Yet Assert€d

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
VIOLATIONS OF 15 U.S.C. Section 1681, 15 U.S.C. Section 1692, Cal Civ. Code Section 1785, Cal. Civ. Code Section 1788

VII. NATURE OF SUIT (Place an X in one box only.)

  

Fair Labor Standards
“11 Motions to Act

   

     

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Banks and Banking El 130 Miller Act m 315 Airplan¢ Pl'°d“°t |Il 370 Other Fraud Vacate Sentence E| 720 Labor/Mgmt.
Commerce/ICC El 140 Negotiable Instiument liability _ E| 371 Trutli in Lending Habeas Coi'pus Relations
Rstes/ete. t:t 150 Reeevery er C' 320 ASSa“lt» leel & t:t 380 other Persehsi t:t 530 Geherat t:t 730 Laber/Mgmt.

El 460 Deportation Overpayment & Sla“d°r 7 Property Damage |Il 535 Death Penalty Reporting &

El 470 Racketeer Intluenced Enforcement of m 330 F'_:d' ,E,mpl°y°rs E| 385 Property Damage EI 540 Mandamus/ Disclosure Act
and Corrupt Judgment Llab_lmy Pr d tL' b'l' Other El 740 Railway Labor Act
Organizations k E| 151 Medicare Act m 340 Mar_ine Civil Rights 111 790 Other Labor

|!.(480 Consumer Credit 111 152 Recovery of Defaulted m 345 E:;:;;;mduct |:l 422 Appeal 28 USC 111 555 Prison Condition Litigation

l:| 490 Cable/Sat TV Student Loan (Excl. . 158 Empl. Ret. Inc.

El 810 Selective Service Veterans) g;;g x::g; ¥::;::: E| 423 Withdrawa128 '

El 850 Securities/Commodities/ E| 153 Recovery of product liability Agriculture
Excliange Overpayment of n 360 Other Personal v ,' _ 111 620 Other Food & E| 820 Copyrights

El 875 Customer Challenge 12 Veteran’s Benefits mqu ng Drug Patent
USC 3410 C| 160 Stockholders’ Suits g 362 personal Inj“ry_ El 442 Employment E| 625 Drug Related

. El 890 Other Statutory Actions El 190 Other Contract M¢d Ma]prac¢i¢e 1.`_| 443 Housing/Acco- Seizure of , , _ v _

Cl 891 Agricultural Act El 195 Contract Product E| 365 Personai lnjury. mmodations Property 21 USC IA( 95

Cl 892 Economic Stabilization Liability Pi~uduct Liability |Il 444 Welfare 881 111 862 Black Lung (923)
Act E| 196 F ' II] 368 Asbestos Personal El 445 American with II| 630 Liquor Laws El 863 DIWC/DlWW

El 893 Environmental Matters Injury Product Disabilities - E| 640 R.R. & Truck (405(g))

13 894 Energy Allocation Act [l 210 Land Condemnation_ Liabili Employment Cl 650 Airline Regs |Il 864 SSID Title XVI

 
     
 

El 895 Freedom of Info. Act E| 220 Foreclosure \/ t |Il 446 American with El 660 Occupational

|Il 900 Appeal of Fee Determi- El 230 Rent Lease & Ejectment 13 462 Natlll'allzaflon Disabilities - Safety /Health _
nation Uhder Equai t:t 240 Teits te Lrhd Appliwfion other t:t 690 other t:t 870 Taxes (U,s.
Aeeess to Justiee t:t 245 Tert Preduet Lisbiiity 5 463 Ha_b¢as COFP“S- t:t 440 other civil er Defendaht)

t:i 950 constitutionality of t:t 290 Ati other Resi Preperty Ah¢“ D°w{n°e_ nights t:t 871 IRs-Third Psrty 26
state statutes '3 465 Other Immlgfa“°" usc 7609

Actions

 

 

 

 

 

 

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FOR OFFICE USE ONLY: Case Number:

AFTER COMPLETING THE FRONT SIDE OF FORM CV-7l, COMPLETE THE INFORMATION REQUESTED BELOW.

 

 

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§ Case 2:12-Cv-O4157-UA-DUTY Document 1-1 Filed 05/14/12 Page 16 of 16 Page |D #:18
b‘ ‘ a

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? |!fNo El Yes
If yes, list case number(s):

 

VII!(b). RELATED CASES: Have any cases been previously filed in this conn that are related to the present case? MNo |Il Yes
Ifyes, list case number(s):

 

Civi| cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) |Il A. Arise from the same or closely related transactions, happenings, or events; or
Cl B. Call for determination of` the same or substantially related or similar questions of law and fact; or
E| C. For other reasons would entail substantial duplication of labor if heard by different judges; or
|I| D. involve the same patent, trademark or copyright, Li one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides.
El Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* Califomia County outside of this District; State, if other than Califomia; or Foreign Country
VARIOUS

 

LOS ANGELES

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides.
El Check here if the government, its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District:* Califomia County outside of this District; State, if other than Califomia; or Foreign Country

VARIOUS

 

LOS ANGELES

 

 

 

(c) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Countty, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land lnvolved.

 

County in this District:* Califomia County outside of this District; State, if` other than Califomia; or Foreign Country
VARIOUS

 

LOS ANGELES

 

 

 

 

* Los Angeles, Orange, San Bernardino, Rlverside, Ventura, S nta Barbara, or San Lui_ Oblspo Counties
Note: ln land condemnation cases use the location of the tract o nd in\iolvedi '» '

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Notice to Counsel/Parties: The CV-7l (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3~1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

    
 

X. SlGNATURE OF AT'I`ORNEY (OR PRO PER):

 

Key to Statistical codes relating to Social Security Cases:

Nature of Sult Code Abbrevlation Substantlve Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Pait B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured Workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RS! All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

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